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HUTTON

Engineering Services

1317 State Route 169
Little Falls, NY 13365 December 31, 2009

Mr. Clem C. Trischler

Pietragallo, Gordon, Alfano, Bosick & Raspanti, LLP
The 38 Th. Floor

One Oxford Center

Pittsburgh, Pennsylvania 15219

Re: Kelly Cousins v. Smith & Wesson Corp.
Dear Mr. Trischler,

Pursuant to your request, | have conducted my examination of the subject
firearm and | have reviewed various discovery materials provided to me to-date in this
case, which included the following:

Plaintiff's Petition

Medical treatment records of Kelly Cousins

Plaintiffs Answers to First Set of Interrogatories

Plaintiffs Responses to (First) Request for Production of Documents

The Safety & Instruction Manual for the Walther PPK - PPK/S Pistol

DVD video of testing of subject pistol produced by plaintiff

Recall notice issued by Smith & Wesson for the Walther PPK and PPK/S pistols

Below is my report on my examination of the subject pistol. Following that are my
opinions regarding the issues in this case as can be offered at this time.

SUBJECT GUN EXAMINATION

My examination of the subject pistol was conducted on November 24, 2009,
at the Smith & Wesson plant in Springfield, Massachusetts. Present for the examination
were:

Mr. Clem Trischler, attorney for Smith & Wesson Corp.
Mr. James Marrion, attorney for Smith & Wesson Corp.
Mr. James Hutton, independent expert for Smith & Wesson Corp.

 
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The evidence presented for examination was contained within the original black
Smith & Wesson pistol case. There was the subject pistol, one S&VW Model PPK/S-1,
serial number 7739 BAE, with the two black pistol grips removed, the two pistol grips,
two magazines - one plain and one with the grip extension, and with a small manila
envelope for the factory-fired spent casings. Attached are photographs taken during my
examination of this evidence.

Subject Pistol Examination

The subject firearm is a double-action semi-automatic pistol, in polished
stainless steel with black hard polymer grips. It was manufactured by Smith & Wesson
in Houlton, Maine under license from Walther. On the left side of the slide there is the
copyright scroll logo of “WALTHER” marking, and under this is “SMITH & WESSON,
HOULTON, ME USA’. There is the caliber designation of “.380ACP” etched onto the
right side of the chamber of the barrel and on the right side of the frame the pistol there
is the serial number and model designation of “7739 BAE PPK/S-1”.

FIREARM - Condition & General Function

Examination of the exterior of the firearm indicates that the overall condition of
the revolver is classified as “NRA Excellent ”. The silver colored matte finish and
polished stainless steel exterior of the pistol was very clean with no lubrication, and no
significant mars. The movement of the slide was smooth, and the function and feel of
the trigger, the hammer and the safety was normal.

The function of the large slide-mounted safety was very positive: with the safety
lever in the “safe” position (lever down, no red dot showing), a trigger pull would not fire
the pistol, and with the safety in the “fire” position (lever up, in a horizontal orientation),
a trigger pull would fire the pistol. The safety lever moves through a rotational arc of
approximately 80 degrees, and the force required to move the safety from the “fire”
position to the “safe” position, and from the “safe” position to the “fire” position was
judged to be normal for this design - in excess of four pounds. The safety detents in
both the “fire” and “safe” positions were felt to be quite positive and easily discerned by
this examiner, as well as being visually obvious. In summary, the operation of the
manual safety on the incident pistol was perfect: if the manual safety is in the “safe”
position, the internal cylinder of the manual safety positively prevents the hammer from
reaching the firing pin under any circumstances of handling.

The trigger pull required to fire the pistol in the single-action mode was measured
to be 4.43 pounds peak force acting through a distance of approximately one-eighth of
an inch, and the trigger pull required to fire the pistol in the double-action mode was
measured to be 12.02 pounds peak force acting through a distance of approximately
one-half of an inch; both averages of five measurements made with a Chatillon digital
electronic force gauge. The release of the hammer by the trigger at the end of the
trigger movement, in both the single-action and double-action mode, felt quite clean
and crisp.
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FIREARM - Specialized Function Tests - Safety on “Safe”

Because the manufacturer and type of .380 ACP ammunition that was in use by
Mr. Cousins at the time of the incident was unknown, and the incident fired case was
not provided for examination, Federal brand .380ACP cases were used for tests.

To test to determine if there was any marking or indention of the primer ina
cartridge which was being chambered, each of four test cases were inserted into the
chamber of the barrel with the slide fully rearward and then the slide was released. Two
primed test cases made from Federal .380 ACP “Hyda-Shok” ammunition and two un-
primed test cases were made from Federal .380 ACP standard FMJ ammunition, with
the primer pockets completely filled with gray clay — both types were used to indicate
any degree of primer indent. None of the four test cases showed any degree of primer
marking or indent whatsoever, indicating that the subject pistol will not fire a cartridge
on slide impact during the chambering of a live round.

In a test to determine if there was any marking or indention of the primer in an
already chambered cartridge due to the use of the decocking lever, each of the four test
cases from above were inserted into the chamber of the barrel with the slide fully
rearward and the safety on “safe”, and the slide then released. The safety was then
placed into the “fire” position, the hammer cocked, and then the hammer was “de-
cocked” - allowed to fall using the decocking function of the safety lever - as the safety
was manually moved from the “fire” position to the “safe” position. Because none of the
four test cases showed any indent whatsoever, this indicated that the subject pistol
cannot fire a cartridge on use of the decocking lever.

In a test to determine if there was any marking or indention of the primer in an
already chambered cartridge due to the pulling of the trigger with the safety in the “safe”
position, each of the four test cases from above were inserted into the chamber of the
barrel with the slide fully rearward and the safety on “safe”, and the slide then released.
The trigger was then pulled forcefully and repeatedly, and the pistol would not fire.

In a test to determine if there was any marking or indention of the primer in an
already chambered cartridge due to the pulling of the trigger with the safety in the “fire”
position, two tests were conducted using cases made from Federal .380 ACP “Hyda-
Shok” ammunition. These cases with live primers were inserted into the chamber of the
barrel with the slide fully rearward and the safety on “safe”, and the slide then released.
The safety was then moved to the “fire” position and the trigger was then pulled - in an
intentional effort to fire the pistol. In each instance, the pistol fired as intended. The
depth of the firing pin indents in these two deliberately fired primed cases were both
measured to be 0.0185”, eighteen and one-half, one-thousandths of an inch.

The results of the above sequence of tests clearly indicate that the subject pistol
will not fire as the result of any manipulation of the slide, the safety or the trigger, if the
manual safety is in the “safe” position. And, the subject pistol will fire if the trigger is
pulled with the manual safety in the “fire” position. These tests show that the safety of
the subject pistol must have been in the “fire” position at the time of this incident.
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The Incident

The only information that this examiner has to-date with regard to the incident
itself is the following: The plaintiff's petition stated that the incident pistol was alleged to
have fired: (page 1, 5) “...as the petitioner was adjusting his Walther PPK/S pistol in its
holster, the pistol discharged suddenly without the trigger having been pulled.” And, on
page one of the Thibodaux Regional Medical Center Patient Notes: “...with self inflicted
GSW to R thigh; was trying to put 380 pistol in holster and accidentally went off...”.

The Plaintiffs Test Firing Video

The only other source of further information provided to this examiner regarding
the status of the subject pistol at the time of the incident is the DVD video record of the
test firing of the subject pistol at an outdoor shooting range. This video shows two live
rounds of Speer “Gold Dot” brand ammunition being loaded into the magazine of the
subject pistol, and the magazine then loaded into the pistol. Then, the pistol frame -
without grips - was clamped into a machine vise, and aimed down range. The hammer
was decocked from the fully cocked position to the forward-most, down, position by
manually moving the safety from the “fire” position to the “safe” position. Then the
safety was moved to the “fire” position, and the hammer was then pulled rearward to
the nearly fully cocked position using a string tied to the hammer spur. On this first test
shot, when the string was released, and the hammer was allowed to fall from nearly the
fully cocked position, with the safety in the “fire” position, the pistol fired. On the second
test shot, the hammer was pulled rearward - two times - to the nearly fully cocked
position using the string tied to the hammer, and then released, and the subject pistol
did not fire. On the third attempt to fire this second test shot, with the safety still in the
“fire” position, the subject pistol did fire when the hammer was allowed to fall from the
nearly fully cocked position. Both of the test firings of the subject pistol in this test video
occurred when the hammer fell from the near fully cocked position with the manual
Safety not in the “safe” position, but in the “fire” position.

FIREARM - Specialized Function Tests - Safety on “Fire”

Because the manual safety positively blocks the hammer from reaching the firing
pin when it is in the “safe” position, all of the following tests were conducted with
manual safety in the “fire” position, as it must have been at the time of the incident.

To test the function of the pistol under the abnormal condition of the manual
safety being in the “fire” position and an outside force of sufficient strength acting
directly rearward onto the hammer spur to first, partially cock the hammer, and then
second, release the hammer, to allow the hammer to impact the firing pin, the following
tests were conducted: Using three primed cases for each test - first, one Federal
“Hydra-Shok” and then two Federal standard FMJ cases, were chambered with the
manual safety in the “fire” position, and left in that position for the test.
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In the first test series, the hammer was manually rotated rearward to a position of
approximately 50 percent cocked, and then released. None of the three primed cases
fired, and they had firing pin indents of 0.0020”, 0.0035” and 0.0035” respectively.

In the second test series, the hammer was manually rotated rearward to a
position of approximately 75 percent cocked, and then released. None of the three
primed cases fired, and they had firing pin indents of 0.0035”, 0.0065” and 0.0055”
respectively.

In the third and last test series, the hammer was manually rotated rearward to a
position of approximately 95 percent cocked - almost fully cocked by the sear - and
then released. All of the three primed cases fired, and they had firing pin indents of
0.0110”, 0.0130” and 0.0125” respectively. (It should be noted that in the above primed
case testing, the nickel plating on the brass primer of the “Hyda-Shok’” cases adds
Slightly to the strength of the primer in resisting the firing pin blow, which therefore
results in a slightly shallower firing pin indent than from the plain brass primers.)

The force necessary to act tangentially to the hammer, to rotate the hammer
rearward to the 50%, 75% and then the 95% of fully cocked positions was measured
tangent to the knurled hammer spur, and a peak force of 4 to 4 % pounds was
observed to occur just prior to the 95% - or fully cocked - hammer position.

Given the fact that the hammer of the subject pistol lies very well shielded - in all
directions - by the width and height of the slide and frame spur, it is very difficult for this
examiner to see how 1) any force in excess of four pounds came to be present in the
zone of the hammer, 2) the force was tangentially applied to the hammer spur to rotate
the hammer in an upward and rearward arc, 3) the force rotated the hammer fifty-five
degrees relative to the frame, to a position just short of the fully cocked position - but
not beyond, and then 4) the force was spontaneously absent, which 5) allowed the
hammer to fall, now unrestricted by any forces: “...as the petitioner was adjusting his
Walther PPK/S pistol in its holster...” or when “...trying to put 380 pistol in holster...”.

No Evidence Examination - Holster, Ammunition or Incident Case

Although the holster, the ammunition in use at the time, and the incident case
are all quite relevant and necessary for a complete investigation of this incident to be
conducted, they have not been made available to this examiner as of this time.

The Walther PPK/S Design in Perspective

The Walther PP was the first successful double-action semi-automatic pistol in
the world, introduced in 1929 by the Walther firm of Ulm, Germany. This was the start
of the Walther series of PP pistol designs, which have since come to include the PPK,
PPK/S, PPK-L, and PPK/E. Various models of the PP series has been manufactured by
Walther in Germany, prior to and during World War II, in France following the war, in
the United States for InterArms, and since 2002 to the present, the Walther PPK/S has
been made by Smith & Wesson under license to Walther.
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The basic PP and PPK models have been widely popular in Europe for the past
eighty years, being used by the military, police and civilians alike, chambered for the .22
LR, .32 ACP and .380 ACP cartridges, and have been acclaimed for their quality of
manufacture and reliability of design. In this country, despite eighty years of handgun
design evolution, and the wide variety of double-action and DAO polymer frame pistol
designs which are currently available, the charisma of the legendary PPK persists - in
much the same way and for the same reasons - as it does for the venerable Colt 1911.

OPINIONS

Based on my examination of the subject firearm, a Smith & Wesson Model
PPK/S semi-automatic pistol, serial number 7739 BAE the various discovery materials
provided, and based on my knowledge, experience and training in mechanical
engineering and particularly with regard to the design and proper technique for the
carrying and function of semi-automatic pistols, | offer the following opinions to a
reasonable degree of engineering and scientific certainty, in this matter:

1) There is no defect in the design or manufacture of the subject firearm, one Smith &
Wesson Model PPK/S model pistol, serial number 7739 BAE. The Walther PPK/S
as manufactured by Smith & Wesson is an excellent version of the historically
important, popular and safe double-action pistol design.

2) Based on my examination of the evidence provided, | fail to see how the subject
pistol could have fired - even with the safety in the “fire” position - without some
manner of manipulation of the hammer and/or the trigger by the user, Mr. Cousins.

3) The manual safety on the incident S&W Model PPK/S pistol works very positively as
designed, and if the manual safety had been used by Mr. Cousins, this accident
would not have occurred.

4) The Smith & Wesson Safety and Instruction Manual for the Walther PPK/S clearly
instructs the shooter with regard to safe handgun handling and also instructs the
user in the safe and proper way to inspect, load, fire, decock and unload the Model
PPK/S pistol, including the proper use of the manual safety feature provided.

5) While the circumstances of this accident have not been fully investigated as of this
time, it appears that Mr. Cousins could have prevented this accidental discharge by
using common sense and following safe gun handling practices.

The opinions expressed above are based on the information and materials made
available to date, and these opinions may be supplemented in the future as additional
information is received or examination and/or testing of new or existing evidence is
conducted. In particular, my examination of the incident holster, the unfired incident
ammunition, and the fired casing from the incident cartridge, and my examination of the
fired cases from the plaintiff's video tests, is necessary for me to offer further opinions.
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Attached is a copy of my current resume which sets out my qualifications. Also

attached is a listing of my testimony in other cases for the last four years. The rate of
compensation for my time is $250 per hour.

James C. Hutton
James C. Hutton, P.E.

Attachments

Evidence Examination - 11/24/09

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Photograph 1
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Case 2

 

 

Photograph 4

Photograph 5

 

 

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Resume
PERSONAL DATA
Name: James Cameron Hutton
Home Address: 1319 State Route 169
Little Falls, NY 13365
Business Address: Hutton Engineering Services _— Tel: (315) 823-0100
1317 State Route 169 Fax: (315) 823-1827
Little Falis, NY 13365 Ceil: (315) 527-8018
Date of Birth: June 15, 1945
Place of Birth: Denver, Colorado

Marital Status: Married

Name of Spouse: Mary Ellouise (Pritchett)

Names of Children: Elizabeth A. Hutton James P. Hutton Emily D. Hutton
Dates of Birth: October 21, 1977 February 11,1986 February 9, 1988
Present Heaith: Excellent

EDUCATION

Bachelor of Science Degree in Mechanical Engineering, Texas A & M University, January 1969.
MILITARY SERVICE

Undergraduate military training in the Texas A & M Corps of Cadets, U.S.A.F., no active duty.
LICENSE

Registered Professional Engineer, State of New York, License 50280, February 1974, to present.
Registered Professional Engineer, State of Alabama, License 28176-E, December 2006, to present.

PATENTS

#3,893,370 issued 07/08/75

#3,949,507 issued 04/13/76

#4,044,487 issued 08/30/77 All patents relate to firearms design.
MEMBERSHIP IN PROFESSIONAL SOCIETIES

National Society of Professional Engineers

New York State Society of Professional Engineers - Past President, Oneida/Herkimer County Chapter
Association of Firearm and Tool Mark Examiners - Technical Advisor
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Resume - James C. Hutton
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EXPERIENCE

Hutton Engineering Services November, 1994 to Present

Owner of Hutton Engineering Services - Serve as engineering consultant on firearms of all types,
including rifles, shotguns, pistols, revolvers and other cartridge powered devices, and all small arms
ammunition and blackpowder products, regarding a broad scope of design and safety issues. HES has
comprehensive capabilities for the analysis and testing of firearms and ammunition products for design
acceptance and for pending litigation.

 

 

Independent Consultant 1985 to November, 1994
While employed full time as an employee of Remington Arms Company, Inc., served as an independent
engineering consultant on an after-hours basis for all types of firearms not manufactured by Remington,
including pistols, revolvers and “bang stick” devices, primarily with regard to potential or active litigation.

Remington Arms Company (CD&R), Ilion Plant

llion Research Division December 1993 - November 1994

 

Senior Staff Engineer - Same position as from August 1982 through November 1993, with changing
responsibilities due to reorganization and the relocation of the Ilion Research Division from the Ilion plant
site. Resigned effective November 15, 1994.

Remington Arms Company (DuPont), Ilion Plant

llion Research Division August 1982 - November 1993

 

Senior Staff Engineer (DuPont Research Fellow) - Consultant to the various firearms design groups,
regarding general design strategies and product safety issues, evolution of Remington designs, current
and new process utilization, and product cost. Represent the company and testify by deposition and at
trial, prepare the defense of technical issues in product liability litigation as necessary, for all Remington
firearms products. Retired from Remington Arms Company, inc., effective November 30, 1993.

Production - Industrial Engineering Section March 1980 - August 1982

Superintendent of Industrial Engineering - Directed the activities of a Staff of 22 professionals, composed
of economic analysts, planners and industrial engineers. Responsible for all aspects of industrial
engineering at the Ilion Plant, including new and current product cost estimates, project cost estimates,
overall plant economic performance, wage-roll job standards and wage rates, cost improvement program,
Suggestion program, aif machine and plant floor-plan layouts, and specialized economic studies.

Production - Manufacturing Section July 1979 - March 1980

Supervisor of the Barrel & Receiver Blank Area - As one of six production supervisors at the Ilion Plant,
directed 345 wage-roll employees through a staff of seven foremen ona three-shift basis. Responsible for
the production of all shotgun, centerfire and rimfire barrel blanks, receiver blanks, numerous machined
parts, and injection-molded plastic components, for all firearms manufactured.

 
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Resume - James C. Hutton
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Production - Manufacturing Section June 1978 - July 1979

Supervisor of Trial & Pilot Operations - Acted as planner and coordinator for the initial manufacturing of
major new firearms products, and for revisions in manufacturing process for current products. Involved
extensive liaison between Process Engineering, Production, R&D and Quality Control sections.

Production - Process Engineering & Control May 1977 - June 1978

Supervisor of Quality Control & Product Testing - Responsibilities in three areas: First, represented the
Company in product liability litigation as corporate representative and as expert witness. Second, staff
responsibility for the quality control of all manufacturing operations for all firearms models produced at the
ilion Plant. Third, line responsibility for gallery test operations, including the supervision, through foremen,
of 35 wage-roil employees on a three-shift basis. Gallery testing invoived the safety, proof, functional and
accuracy test firing of ail production firearms.

Production - Process Engineering & Control September 1976 - May 1977

Senior Process Engineer - As design consuitant, advised process engineers and tool designers for the
establishment of new processes and revision of current processes, for the manufacturing of the new M/4,
M/6, M/7400 and M/7600 series of centerfire rifles.

Research & Development - Design Section January 1970 - September 1976

Progressed from Design Engineer to Senior Research Engineer. Gained a knowledge of all firearms
produced by Remington currently and in the past, and of many competitive models also. From June, 1974
to September, 1976 as Senior Research Engineer, directed a team of engineers for the design of the new
M/4, M/6, M/7400, and M/7600 series of pump-action and semi-automatic action centerfire rifles, which
have been manufactured since 1981. Design representative from R & D for over half of the then currently
produced firearms, responsible for the technical defense of these models in product liability litigation.

For the entire period in the design section, designed and directed the design activities of others in all
aspects of firearms design development and testing, with primary emphasis on centerfire rifles, but
including most other firearms types also. Design activities included design of fire control mechanisms,
actuation mechanisms and locking systems, based on studies of locking systems, gun dynamics, gun
handling, ail manner of firearms testing, and the evaluation and investigative analysis of current and past
firearms.

Research & Development - Test & Measurement Lab January 1969 - January 1970

Design Engineer - Assigned to the Laboratory to gain complete knowledge of laboratory and field testing
of firearms and ammunition, both Remington and competitive manufacture.

1/1/10
